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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                        )                        CHAPTER 13
                                        )
IN RE                                   )                        CASE NO.: 20-10947-ELF
                                        )
      EDWARD C PENROSE, II,             )
                          Debtor        )
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ )
STEWARD FINANCIAL SERVICES, C/O         )
WESTLAKE PORTFOLIO MANAGEMENT,          )                        HEARING DATE:
                          Movant        )                        Tuesday, February 22, 2022
               vs.                      )                        9:30 A.M.
                                        )
EDWARD C PENROSE, II,                   )
                          Respondent(s) )
          and                           )
                                        )                        LOCATION:
KENNETH E. WEST                         )                        United States Bankruptcy Court 900
                          Trustee       )                        Market Street
                                        )                        Courtroom No. 1
                                        )                        Philadelphia, PA 19107
                                        )
                        NOTICE OF MOTION, RESPONSE DEADLINE
                                  AND HEARING DATE
Steward Financial Services, c/o Westlake Portfolio Management, has filed a Motion for Relief with the
Court to Lift the Automatic Stay to Permit Steward Financial Services, c/o Westlake Portfolio
Management to Repossess Debtor's Property described as a 2015 FORD Fusion SE Sedan 4D, V.I.N.
3FA6P0H72FR157843.
Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
to consult an attorney.)
1. If you do not want the court to grant the relief sought in the motion or if you want the Court to
consider your views on the motion, then on or before February 08, 2022 you or your attorney must do all
of the following:

                 a) file an answer explaining your position at
                           United States Bankruptcy Court Clerk
                           Robert N.C. Nix, Sr. Federal Courthouse,
                           900 Market Street, Suite 400,
                           Philadelphia, PA 19107
If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough so that it
will be received on or before the date stated above; and

                 b) mail a copy to the movant's attorney:
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                          Jason Brett Schwartz, Esquire
                          Mester & Schwartz, P.C.
                          1917 Brown Street
                          Philadelphia, PA 19130
                          (267) 909-9036
                          (267) 541-2139 Fax
                              and
                          KENNETH E. WEST
                          1234 Market Street - Suite 1813
                          Philadelphia, PA 19107
                              and
                          United States Trustee
                          200 Chestnut Street,
                          Suite 502
                          Philadelphia, PA 19106

2. If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and attend
the hearing, the Court may enter an order granting the relief requested in the motion.
3. A hearing on the motion is scheduled to be held before the Honorable Eric L. Frank on Tuesday,
February 22, 2022 at 9:30 A.M., Courtroom #1 United States Bankruptcy Court 900 Market Street,
Philadelphia, PA 19107.
4. If a copy of the motion is not enclosed, a copy of the motion will be provided to you if you request a
copy from the attorney named in paragraph 1(b).
5. You may contact the Bankruptcy Clerk's office at 215-408-2800 to find out whether the hearing has
been canceled because no one filed an answer.
Date: January 25, 2022
